                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF ALABAMA

IN RE:                                                                          CASE NO. 18-04400-JCO-13
   James Marquis Hurd

        DEBTOR

                                   TRUSTEE'S MOTION TO DISMISS
    Daniel B. O'Brien, Trustee in this Chapter 13 proceeding, respectfully moves the Court for an order
dismissing this case for failure of the Debtor to file the following document(s) as required:
         Amended Final Plan Summary per notice to correct.

   WHEREFORE, the Trustee moves the Court for an order dismissing this case or for other orders as the
Court deems appropriate.


DATED: July 09, 2019                                               /s/ Daniel B. O'Brien
                                                                   Daniel B. O'Brien
                                                                   CHAPTER 13 TRUSTEE
                                       CERTIFICATE OF SERVICE

   I certify that on July 09, 2019, I served a copy of the above motion to the parties listed as follows:

By Electronic Notification:
Larson Edge, Jr.
5755 Parkmont Circle South
Mobile, AL 36608
By First Class Mail:
James Marquis Hurd
394 Fatty Lockhart Road
Millry, AL 36558


                                                                   /s/ Daniel B. O'Brien
                                                                   Daniel B. O'Brien
                                                                   CHAPTER 13 TRUSTEE




     Case 18-04400         Doc 59      Filed 07/09/19 Entered 07/09/19 09:48:45                Desc Main
                                         Document     Page 1 of 1
